
MARYELLEN BOGERT, Plaintiff Below, Appellant,
v.
JOHN L. EISENHARDT and JOAN EISENHARDT, Defendants Below, Appellees.
No. 598, 2008.
Supreme Court of Delaware.
Submitted: April 22, 2009.
Decided: April 23, 2009.
Before HOLLAND, BERGER and RIDGELY, Justices.

ORDER
RANDY J. HOLLAND, Justice
This 23rd day of April 2009, the Court having considered this matter on the briefs filed by the parties has determined that the final judgment of the Superior Court should be affirmed on the basis of and for the reasons assigned by the Superior Court in its decisions dated October 20, 2008, and November 7, 2008 (filed November 10, 2008).
NOW, THEREFORE, IT IS HEREBY ORDERED that the judgment of the Superior Court be, and the same hereby is, AFFIRMED.
